         Case 24-11115-amc          Doc 9     Filed 04/17/24 Entered 04/17/24 10:37:35             Desc
                                                  Page 1 of 1
Form OL241 (3/23)


                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                  )
    Bruce E. Hearns Jr.                                 )           Case No. 24−11115−amc
                                                        )
                                                        )
     Debtor(s).                                         )           Chapter: 7
                                                        )
                                                        )


                                                    ORDER

       AND NOW, it is ORDERED that since the debtor(s) have failed to timely file the documents required by the
order dated 04/02/2024, this case is hereby DISMISSED.



                                                                    _______________________________
 Date: April 17, 2024                                               Ashely M. Chan
                                                                    Judge, United States Bankruptcy Court


Missing Documents:
Certification Concerning Credit Counseling and/or Certificate of Credit Counseling
Matrix List of Creditors
Chapter 7 Statement of Your Current Monthly Income Form 122A−1
Means Test Calculation Form 122A−2
Schedules AB−J
Statement of Financial Affairs
Summary of Assets and Liabilities
